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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


United States of America

           v.
                                                                   1:20-cr-330 (AJN)
Ghislaine Maxwell,

                   Defendant.



           UNITED STATES’ MOTION TO UNSEAL GRAND JURY TRANSCRIPTS

           At the direction of the Attorney General, the Department of Justice hereby moves the Court

to release grand jury transcripts associated with the above-referenced indictment.

           On July 6, 2025, the Department of Justice and Federal Bureau of Investigation issued a

memorandum describing an exhaustive review undertaken of investigative holdings relating to

Jeffrey Epstein (the “Memorandum”). 1 The Memorandum detailed the steps taken by the

Department of Justice and Federal Bureau of Investigation to determine whether evidence existed

that could predicate an investigation into uncharged third parties. As the Memorandum concluded,

no such evidence was uncovered during the review.

           Since July 6, 2025, there has been extensive public interest in the basis for the

Memorandum’s conclusions. While the Department of Justice and Federal Bureau of Investigation

continue to adhere to the conclusions reached in the Memorandum, transparency to the American

public is of the utmost importance to this Administration. Given the public interest in the

investigative work conducted by the Department of Justice and Federal Bureau of Investigation

into Epstein, the Department of Justice moves the Court to unseal the underlying grand jury



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    https://www.justice.gov/opa/media/1407001/dl?inline.

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transcripts in United States v. Epstein, subject to appropriate redactions of victim-related and other

personal identifying information. 2 The Department will work with the United States Attorney’s

Office for Southern District of New York to make appropriate redactions of victim-related

information and other personal identifying information prior to releasing the transcripts.

Transparency in this process will not be at the expense of our obligation under the law to protect

victims.

         1.       On July 2, 2019, a grand jury sitting in the Southern District of New York returned

an indictment charging Epstein with sex trafficking offenses. See United States v. Epstein, 1:19-

cr-490, Dkt. No. 2. (S.D.N.Y.). On August 10, 2019, while awaiting trial, Epstein committed

suicide in his cell in the Metropolitan Correctional Center in New York City. Soon after, the Court

dismissed the indictment. Dkt. No. 52.

         2.       On June 29, 2020, a grand jury sitting in the Southern District of New York charged

Epstein’s longtime confidant, Ghislaine Maxwell, with numerous offenses related to the trafficking

and coercion of minors. See Dkt. No. 1. In December 2021, a jury found Maxwell guilty on several

counts. This Court sentenced Maxwell to 240 months’ imprisonment and the Second Circuit later

affirmed her convictions and sentence. See United States v. Maxwell, 118 F.4th 256 (2d Cir. 2024).

         3.       On July 6, 2025, the Department of Justice and Federal Bureau of Investigation

announced the conclusion of their review of the particulars of Epstein’s crimes and death. Since

then, the public’s interest in the Epstein matter has remained. Given this longstanding and

legitimate interest, the government now moves to unseal grand jury transcripts associated with

Epstein.




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 The Department of Justice is filing similar motions in United States v. Epstein, 1:19-cr-490 (S.D.N.Y.), and in the
Southern District of Florida.

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          4.      “It is a tradition of law that proceedings before a grand jury shall generally remain

secret.” In re Biaggi, 478 F.2d 489 (2d Cir. 1973). “[T]he tradition of secrecy,” however, “is not

absolute.” In re Petition of Nat. Sec. Archive, 104 F. Supp. 3d 625, 628 (S.D.N.Y. 2015). Although

Rule 6(b)(3) of the Federal Rules of Criminal Procedure generally lists the exceptions to grand

jury secrecy, the Second Circuit has recognized that “there are certain ‘special circumstances’ in

which release of grand jury records is appropriate even outside the boundaries of the rule.” In re

Craig, 131 F.3d 99, 102 (2d Cir. 1997); see also Carlson v. United States, 837 F.3d 753, 767 (7th

Cir. 2016) (“Rule 6(e)(3)(E) does not displace that inherent power. It merely identifies a permissive

list of situations where that power can be used.”). One such “special circumstance” is historical

interest by the public. In re Craig, 131 F.3d at 105. Under In re Craig, this Court retains discretion

to determine “whether such an interest outweighs the countervailing interests in privacy and

secrecy[.]” Id.

          5.      Public officials, lawmakers, pundits, and ordinary citizens remain deeply interested

and concerned about the Epstein matter. Indeed, other jurists have released grand jury transcripts

after concluding that Epstein’s case qualifies as a matter of public concern. See Order Granting

Plaintiff’s Motion for Reconsideration of the Trial Court’s February 29, 2024 Order, CA Florida

Holdings, LLC v. Dave Aronberg and Joseph Abruzzo, 50-2019 CA-014681 (15th Cir. July 1,

2024). 3 After all, Jeffrey Epstein is “the most infamous pedophile in American history.” Id. The

facts surrounding Epstein’s case “tell a tale of national disgrace.” In re Wild, 994 F.3d 1244, 1247

(11th Cir. 2021) (discussing the plea agreement secured by Epstein in Florida). The grand jury

records are thus “critical pieces of an important moment in our nation’s history.” In re Petition of

Nat. Sec. Archive, 104 F. Supp. 3d at 629. “The time for the public to guess what they contain



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    https://www.mypalmbeachclerk.com/home/showpublisheddocument/4194/638554423710170000.

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should end.” Id. Notably, the privacy interests at stake on the other side of the balance are

substantially diminished due to Epstein’s death. Of course, as noted above, the Department of

Justice will work with the United States Attorney’s Office for the Southern District of New York

to redact all victim-identifying information prior to any release. While the Government recognizes

that Maxwell’s case is currently pending before the Supreme Court on a petition for a writ of

certiorari, it nonetheless moves this Court for relief due to the intense public scrutiny into this

matter.

          6.      For these reasons, this Court should conclude that the Epstein and Maxwell cases

qualify as a matter of public interest, release the associated grand jury transcripts, and lift any

preexisting protective orders. See In re Craig, 131 F.3d at 105 (“It is … entirely conceivable that

in some situations historical or public interest alone could justify the release of grand jury

information.”).




                                                             Respectfully submitted,


                                                             PAMELA J. BONDI
                                                             U.S. Attorney General

                                                             /s/ Todd Blanche______
                                                             TODD BLANCHE
                                                             Deputy Attorney General




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